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 9   Los Angeles, CA 90017                      AND
     Telephone: (213) 443-3000                  QUALCOMM TECHNOLOGIES,
10   Facsimile: (213) 443-3100                  INC.
11
12                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
13
     QUALCOMM INCORPORATED,                  Case No. 3:17-cv-1375-DMS-MDD
14
                       Plaintiff,            DECLARATION OF DAVID A.
15                                           NELSON IN SUPPORT OF
           v.                                QUALCOMM INCORPORATED’S
16                                           BENCH MEMORANDUM OPPOSING
                                             APPLE INC.’S REQUEST FOR AN
17 APPLE INC.,                               INSTRUCTION REGARDING MR.
                                             SIVA’S TESTIMONY
18                     Defendant.
                                             Trial Date: March 4, 2019
19
20                                           Judge: Hon. Dana M. Sabraw
21 AND RELATED COUNTERCLAIMS
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23
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28
Case 3:17-cv-01375-DMS-MDD Document 661-1 Filed 03/08/19 PageID.37665 Page 2 of 2




     1         I, David A. Nelson, hereby declare as follows:
     2 1.      I am an attorney admitted to practice in the State of Illinois and am admitted
     3         pro hac vice to practice before the U.S. District Court for the Southern
     4         District of California. I am a partner at the law firm Quinn Emanuel Urquhart
     5         & Sullivan LLP, counsel for Qualcomm Incorporated (“Qualcomm”) in the
     6         above-captioned matter.
     7 2.      I submit this declaration in support of Qualcomm’s Opposition To Apple
     8         Inc.’s Request For An Instruction Regarding Mr. Siva’s Testimony.
     9 3.      Attached as Exhibit A is a true and correct copy of March 7, 2019 email
    10         correspondence between counsel for Apple and Matt Warren of Warren Lex
    11         LLP.
    12 4.      Attached as Exhibit B is a true and correct copy of Apple Inc.’s First
    13         Supplemental Initial Disclosures in Qualcomm Inc. v. Apple Inc., No. 3:17-
    14         cv-02403-CAB-MDD, dated April 4, 2018.
    15 5.      Attached as Exhibit C is a true and correct copy of a April 2, 2018 letter from
    16         Mr. Warren to counsel for Apple regarding Case No. 337-TA-1093 (I.T.C.).
    17         I declare under penalty of perjury that the foregoing is true and correct to the
    18 best of my knowledge and belief.
    19
         Executed this 8th day of 2019.
    20
    21
                                                   /s/ David A. Nelson
    22
    23                                             QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP
    24                                             David A. Nelson (pro hac vice)
                                                   (Ill. Bar No. 6209623)
    25                                             davenelson@quinnemanuel.com
    26                                             Attorney for Plaintiff and
                                                   Counterclaim Defendants
    27                                             QUALCOMM INCORPORATED and
                                                   QUALCOMM TECHNOLOGIES, INC.
    28
                                                   -1-
         DECLARATION OF DAVID A. NELSON IN SUPPORT OF QUALCOMM INCORPORATED’S OPPOSITION TO
                                                  APPLE INC.’S REQUESTED CURATIVE INSTRUCTION
                                                                    Case No. 3:17-cv-1375-DMS-MDD
